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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


       TRACEY HANSON, et al.,              )                 Case No. 09-CV-0454-RMU
                                           )
                   Plaintiffs,             )                 MOTION FOR SUMMARY
                                           )                 JUDGMENT [Fed. R. Civ. P. 56]
                   v.                      )
                                           )
       DISTRICT OF COLUMBIA, et al.,       )
                                           )
                   Defendants.             )
       ____________________________________)

                         MOTION FOR SUMMARY JUDGMENT

       COME NOW the Plaintiffs, Tracey Ambeau Hanson, Gillian St. Lawrence, Paul St.

Lawrence, and the Second Amendment Foundation, Inc., by and through undersigned counsel,

and move the Court for entry of Summary Judgment in their favor and against Defendants

pursuant to Federal Rule of Civil Procedure 56.

       Dated: April 13, 2009                          Respectfully submitted,

                                                      Alan Gura (D.C. Bar No. 453449)
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                                                  By: /s/Alan Gura___________________
                                                      Alan Gura

                                                      Attorney for Plaintiffs
